        Case 1:19-cv-11818-VEC Document 40-1 Filed 09/04/20 Page 1 of 8
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                                                                               DOCUMENT
                                                                               ELECTRONICALLY FILED
                            UNITED STATES DISTRICT COURT                       DOC #:
                           SOUTHERN DISTRICT OF NEW YORK                       DATE FILED: 9/4/2020


TAKE-TWO INTERACTIVE SOFTWARE, INC.,                     Case No. 1:19-cv-11818 (VEC)

                        Plaintiff,                                  ECF Case

       - against -

JOHNATHAN WYCKOFF AND JOHN DOES 1–
10,

                        Defendants.


                      STIPULATION TO CONFIRM ARBITRATOR’S
                          PERMANENT INJUNCTION ORDER
                     AGAINST DEFENDANT JOHNATHAN WYCKOFF

       IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff Take-Two

Interactive Software, Inc. (“Take-Two”) and Defendant Johnathan Wyckoff (“Wyckoff”)

(collectively, the “Parties”), that the Permanent Injunction (the “Permanent Injunction”) entered

on September 2, 2020 by Arbitrator James C. Francis IV (Ret.) in the Parties’ JAMS arbitration,

a copy of which is annexed hereto as Exhibit A, is final and binding on the Parties; and

       IT IS FURTHER HEREBY STIPULATED AND AGREED, that the Parties consent to

the Court confirming and entering the Permanent Injunction as an Order of the Court. This

Court shall retain jurisdiction to entertain such further proceedings and to enter such further

orders as may be necessary or appropriate to implement and/or enforce the provisions of the

Permanent Injunction.

       The Clerk is ordered to terminate this action.
       Case 1:19-cv-11818-VEC Document 40-1 Filed 09/04/20 Page 2 of 8




Dated: New York, New York
       September 4, 2020



 /s/ Dale M. Cendali                        /s/ Leonard French
Dale M. Cendali                            Leonard French
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Attorneys for Plaintiff Take-Two
Interactive Software, Inc.




PURSUANT TO STIPULATION, IT IS SO ORDERED.
         September 4
DATED: ________________, 2020

                                                Hon. Valerie E. Caproni
                                               United States District Judge
Case 1:19-cv-11818-VEC Document 40-1 Filed 09/04/20 Page 3 of 8




          EXHIBIT A
        Case 1:19-cv-11818-VEC Document 40-1 Filed 09/04/20 Page 4 of 8




                JUDICIAL ARBITRATION AND MEDIATION SERWCES


TAKE.TWO INTERACTTVE SOFTWARE,
                                                          JAMS Ref. No. 1345001467
                       Claimant,

       - against -

JOHNATHAN WYCKOFF,

                       Respondent.



                       STIPULATED PERMANENT INJTINCTION
                     AGAINST DEFENDANT JOHNATHAN WYCKOF'F

       IT IS HEREBY STIPULATED AND AGREED, by and between Claimant Take-Two

Interactive Software, Inc. ("Take-Two") and Respondent Johnathan Wyckoff ("Wyckoff ')

(collectively, the 'oParties"), that this Permanent [njunction (the "Permanent Injunction") be

entered in the present arbitration, as well as confirmed and entered by the U.S. Dishict Court in

Talce-Two Interactive Software, Inc.   v. Wyckoff, No. 19 Civ. 11818-VEC (S.D.N.Y.), as set forth

below and in Annex A:

       WHEREAS, Take-Two is the developer and publisher of best-selling video games,

including Red Dead Redemption, Red Dead Redemption         II,   andthe Grand Theft Auto series; and

       WHEREAS, Take-Two is the sole owner of all right, title, and interest in and to Red

Dead Redemplloz ("RDRI"), Red Dead Redemption          II ("RDHI"), Grand Theft Auto     V

("GTAV"),   and the software   it develops, including all copyrights; and

       WHEREAS, for the purposes of this Permanent Injunction, the term 'oTake-Two

Software" shall mean any software or video game that (i) has a notice indicating that Take-Two

Interactive Software, Inc., Rockstar Games, Inc., or 2K Games, Inc. is the copyright owner;

(ii) is labeled physically or within the game with the trademarks TAKE-T\MO INTERACTIVE,
       Case 1:19-cv-11818-VEC Document 40-1 Filed 09/04/20 Page 5 of 8




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                                                      'RTATE
SOCIAL POINT, or
                       J
                     so.i*tpoint;   or   (iii) is identified   as   originating from Take-Two or its labels on its

website;

       WHEREAS, it is alleged that Mr. Wyckoff created an unauthorized copy of RDRI from

an Xbox 360 disc and developed and intended to diskibute software files called the "Red Dead

Redemption Damned Enhancement Project" ("RDR-DEP') and "RDRII Project" that create

unauthorized derivative works of RDRI and RDRII, including by enhancing graphics and visuals

in RDRI and RDRII;

       WHEREAS, it is alleged that the RDR-DEP would allow players to play an enhanced

version of RDRI on personal computer, a platform for which Take-Two itself has not yet

released the RDRI game;

       WHEREAS, as a result, it is alleged that Mr. Wyckoff infringed Take-Two's copyrights;

       WHEREAS, as a result, it is alleged that Mr. Wyckoffhas breached Take-Two's Limitsd

Software Warranty and License Agreement                 (ooUser     Agreement');

       WHEREAS, it is alleged Mr. Wyckoff would tortiously interfere with the contracts

between Take-Two and other RDRI, RDRII, and GTAV users should he release RDR-DEP and

the RDRII Project;

       WHEREAS, it is alleged that Mr. Wyckoff                      s   violations of the Copynght Act and New

York law would cause Take-Two great and irreparable injury that cannot be fully compensated

or measured in money;

       WHEREFORE, upon the consent and request of Take-Two and Mr. Wyckoff, IT IS

HEREBY ORDERED, ADJUDGED, and DECREED THAT:

       1.     Mr. Wyckoff is permanently enjoined and restrained from:
       Case 1:19-cv-11818-VEC Document 40-1 Filed 09/04/20 Page 6 of 8




              (a)     directly or indirectly infringing Take-Two's existing or future copyrighted
       works, including, but not limited to, creating derivative works based upon any portion of
       Take-Two Software, including RDR[, RDRII, and GTAV;

                (b) creating, writing, developing, maintaining, producing, advertising,
       promoting, possessing, accessing, using, and/or distributing any computer program or
       configuration file(s) that alters Take-Two Software (directly or indirectly, in whole or in
       part, in any medium, and through any means including but not limited to cloud streaming,
       vpn, or remote access), including without limitation the "Red Dead Redemption Damned
       Enhancement Project" and "RDRII Project";

              (c) inducing or materially contributing to the direct infringement or altering of
       any of Take-Two's existing or future copyrighted works by others;

              (d)      violating Take-Two's User Agreement by, among other things, (i)
       "mak[ing] a copy of the Software" in violation of the User Agreement; (ii) "us[ing] or
       install[ing] the [Take-Two] Software (or permit[ting] others to do same) on a network,
       for on-line use"; and (iii) "prepar[ing] derivative works based on, or otherwise
       modiff[ing] [Take-Two] Software, in whole or in part";

              (e)    intentionally or tortiously interfering with Take-Two's contracts with its
       video game players by encouraging or inducing other players of Take-Two Software,
       including RDR[, RDRII, and GTAV, to breach their contractual responsibilities to Take-
       Two;

              (0      interfering with the gaming experience of other players through the use of
       a computer program that alters Take-Two Software;

              (g)     operating or assisting any website designed to assist others in creating,
       writing, developing, maintaining, producing, advefiising, promoting, possessing
       accessing, using, andlor distributing any computer program or configuration file(s) that
       alters Take-Two Software, including RDRI, RDRII, and GTAV; and

              (h)     assisting, aiding, or abetting any other person or business entity in
       engaging in or performing any of the activities referenced in paragraphs lError!
       Reference source not found. through lError! Reference source not found., above.

       2.     To the extent Mr. Wyckoff has not already done so, at the conclusion of this

Arbitration, Mr. Wyckoff is hereby ordered to permanently delete and destroy all copies of any

computer program or configuration file(s) that alters Take-Two Software, including without

limitation the "Red Dead Redemption Damned Enhancement Project" and "RDRII Project."

       3.     No bond or posting of security is required of the Parties in connection with the

entry ofthis Permanent Injunction.
                Case 1:19-cv-11818-VEC Document 40-1 Filed 09/04/20 Page 7 of 8




                4.                Judge Valerie Caproni, United States District Court Judge for the Southern

District ofNew York (the oCourt") and JAMS Arbitrator James C. Francis IV (the "Arbitrator")

shall retain jurisdiction to entertain such further proceedings and to enter such further orders as

may be necessary or appropriate to implement and/or enforce the provisions of this Permanent

Injunction. Mr. Wyckoff specifically consents to personal jurisdiction and venue in the United

States        District Court for the Southem District ofNew York in any action to enforce this Order.

                5.                Upon proof of any violation by Mr. Wyckoff of this Permanent Injunction, the

Court and/or the Arbitrator shall be authorized to award damages, injunctive relief, Take-Two's

reasonable attomey's fees, and other costs incurred in connection with an action to enforce this

Permanent Injunction, and any other relief that it deems appropriate.

                6.                Mr. Wyckoffaffirms that his consent to this Stipulation is given freely and

voluntarily, and after having had the opportunity to discuss same with his legal counsel.

                7.                Mr. Wyckoff waives any objection under Federal Rule of Civil Procedure 65(d).

                8.                Pursuant to the User Agreement, this Order shall be final and binding on the

Parties. This Order also may be confirmed and entered by the Court.


  Dated: New York, New York
                  September                    _,2020


DzlP M. Cendali                                                           /'--r{t
Dale lvi. Cendaii (S€p 1,2020   1!:!2
                                          -
                                        EDT)


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       Case 1:19-cv-11818-VEC Document 40-1 Filed 09/04/20 Page 8 of 8




            {Sep 1,2020 18:30 C0T)          J   cufris edmondson (Sep 1,2020 18:38 CDT)



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Attorneys    for Claimant Take -Tw o             Attorneys .for Re spondent Johnathan
Interactive Sofl'w are, Inc.                      Wyckaff




PI.IRSUANT TO STIPULATION, IT IS SO ORDERED.

DATED:                               2020
